           Case: 1:22-cr-00442-BYP Doc #: 1 Filed: 08/03/22 1 of 5. PageID #: 1



                                                                                          filed
                                                                                        AUG 0 3 2022




                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OHIO
                                              EASTERN DIVISION


     UNITED STATES OF AMERICA,                               INDICTMENT


                     Plaintiff,

             V.                                              CASE NO.
                                                                        1 :22 CR '142
                                                                     Title 18, United States Code,
     PRISCILLA D. WILLIAMS,

                     Defendant.


                                        GENERAL ALLEGATIONS               iVIAG, J'JP-"
                                                                                        - -~ dAUGHMAN
    At all times material and relevant to this Indictment:

            1.      Defendant PRISCILLA D. WILLIAMS was a resident of Cleveland, Ohio,

    located in the Northern District of Ohio, Eastern Division.

            2.      Bank-1 and Bank-2 were financial institutions, as defined under Title 18, United

    States Code, Section 20,the deposits of which were insured by the Federal Deposit Insurance

    Corporation.

           3.       Victim-1 was a resident of North Ridgeville, Ohio.

                                                 COUNTS 1-2
                          (Aggravated Identity Theft, 18 U.S.C. § I028A(a)(l))

    The Grand Jury charges:

           4.       Paragraphs 1 through 3 of this Indictment are realleged and incorporated by

    reference as if fully set forth herein.




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         Case: 1:22-cr-00442-BYP Doc #: 1 Filed: 08/03/22 2 of 5. PageID #: 2




         5.    In or around May 2021, Defendant obtained a laptop that had Victim-1's personal

identifying information, including name, date of birth, and social security number.

         6.    On or about May 21, 2021, Defendant fraudulently applied online for a credit card

account from Bank-1 using the name, date of birth, and social security number of Victim-1,

without Victim-I's knowledge, authorization, or consent.

         7.    On or about May 23,2021, Defendant fraudulently applied online for a credit card

account from Bank-2 using the name, date of birth, and social security number of Victim-1,

without Victim-l's knowledge, authorization, or consent.

         8.    The term "means of identification," as defined under Title 18, United States Code,

Section 1028(d)(7),for purposes ofthis Indictment, means any name or number that may be

used, alone or in conjunction with any other information, to identify a specific individual and

includes any name,social security number, date of birth, and unique electronic identification

code, address or routing code, including a credit or debit card number.

         9.    From on or about May 21,2021, to on or about June 20, 2021, in the Northern

District of Ohio, Eastern Division, Defendant PRISCILLA D. WILLIAMS knowingly possessed

and used, without lawful authority, a means of identification of another person, that is the name,

date of birth, and social security number of Victim-1 (a real person known to the Grand Jury) to

apply for credit card accounts from Bank-1 and Bank-2, during and in relation to a felony

violation enumerated in Title 18, United States Code, Section 1028A(c),to wit: the commission

of Bank Fraud, a violation of Title 18, United States Code, Section 1344, knowing that the means

of identification belonged to another actual person, in violation of Title 18, United States Code,

Section 1028A(a)(l), each credit card application constituting a separate count as set forth

below:
          Case: 1:22-cr-00442-BYP Doc #: 1 Filed: 08/03/22 3 of 5. PageID #: 3



     Count       Victim           Means ofIdentification             Financial Institution
                                                                   Credit Card Annlication
     1         Victim-1      Name,date ofbirth, and social         Bank-1
                             security number
     2         Victim-1      Name,date of birth, and social        Bank-2
                             security number

         All in violation of Title 18, United States Code, Sections 1028A(aXl).

                                           COUNTS 3-4
                                 (Bank Fraud, 18 U.S.C. § 1344)

The Grand Jury further charges:

         10.    Paragraphs 1 through 3 and 5 through 8 ofthis Indictment are realleged and

incorporated by reference as iffully set forth herein.

         11.    On or about May 23,2021,Defendant used the Bank-2 credit card account to

make an unauthorized purchase in the amount of$572.36.

         12.    On or about May 31,2021,Defendant used the Bank-1 credit card account to

make an unauthorized purchase in the amount of$6.95.

         13.    From on or about May 21,2021,to on or about June 20,2021,in the Northern

District of Ohio,Eastern Division, Defendant PRISCILLA D. WILLIAMS,knowingly executed

and attempted to execute a scheme and artifice to defi*aud Bank-1 and Bank-2,federally insured

financial institutions, and to obtain moneys,funds, credits, assets, securities, and other property

owned by and under the custody and control ofBank-1 and Bank-2, by means offalse and

firaudulent pretenses, representations, and promises, each unauthorized purchase constituting a

separate count as set forth below:
        Case: 1:22-cr-00442-BYP Doc #: 1 Filed: 08/03/22 4 of 5. PageID #: 4



             Count        Date          Financial        Descrintion       Amount
                                        Institution        of Fraud
             3         05/23/2021   Bank-2               Unauthorized    $572.36
                                                        Purchase
             4         05/31/2021   Bank-1              Unauthorized     $6.95
                                                        Purchase


       All in violation of Title 18, United States Code, Section 1344.

                                 FORFEITURE SPECIFICATION


       The Grand Jury further charges;

       14.       For the purpose ofalleging forfeiture pursuant to Title 18, United States Code,

Sections 982(a)(2),the allegations of Counts 3 through 4 are incorporated herein by reference.

As a result ofthe foregoing offenses. Defendant PRISCILLA D. WILLIAMS,shall forfeit to the

United States any property, constituting or derived from proceeds obtained directly or indirectly

as a result ofthe violations charged in Counts 3 through 4; including, but not limited to: a money

judgment in the amount ofthe proceeds traceable to the violations in Counts 3 and 4.

                                      SUBSTITUTE ASSETS


       If, as a result of any act or omission Defendant, any property subject to forfeiture:

                    a. caimot be located upon the exercise ofdue diligence;

                    b. has been transferred or sold to, or deposited with, a third person;

                    c. has been placed beyond the jurisdiction ofthe Court;

                    d. has been substantially diminished in value; or

                    e. has been comingled with other property which cannot be subdivided

                        without difficulty;
       Case: 1:22-cr-00442-BYP Doc #: 1 Filed: 08/03/22 5 of 5. PageID #: 5




the United States intends, pursuant to Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section 2461(c), to seek forfeiture of any other

property of Defendant up to the value ofthe forfeitable property described above.



                                                    A TRUE BILL.




Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Govemment

Act of2002.
